           Case 1:20-cv-00918-AKH Document 38 Filed 01/12/21 Page 1 of 1




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 GERMANTOM INTERNATIONAL GMBH,                                   :
                                                                 :
                           Plaintiff,                            :   ORDER
                     -v-                                         :
                                                                 :   20 Civ. 918 (AKH)
  EPOCH TIMES INC., et al.,                                      :   19 Civ. 10306 (AKH)
                                                                 :
                           Defendants.                           :
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ALVIN K. HELLERSTEIN, U.S.D.J.:
         Plaintiff’s cross-motion to amend the complaint to add and remove parties, ECF No. 25,

is denied. Case no. 20-cv-918 is duplicative of case no. 19-cv-10306 and is dismissed. The

addition and removal of parties, namely, that Epoch Media Group, LLC is to be replaced with

Epoch Times, Inc., and Universal Communications Network, Inc., New Tang Dynasty

Television, Inc., New Tang Dynasty, and Zhong John Tang may be made only in 19-cv-10306,

by motion pursuant to Rule 20, Fed. R. Civ. P. As there is no indication on ECF showing that

service of process on Defendants was effectuated within the 90 day period permitted by Rule 4

(m), Fed. R. Civ. P. in case 19-cv-10306, Plaintiff may effectuate service on existing, and any

additional parties, by February 19, 2021, or obtain consent from defendant to accept service. An

amended complaint shall be filed one week after the motion is decided.

         All scheduled conferences in the matter are hereby cancelled. The clerk is instructed to

terminate civil case 20-cv-918 and all open motions therein, and to reopen civil case 19-cv-

10306.

                 SO ORDERED.
Dated:           January 12, 2021                    _________/s/___________________
                 New York, New York                        ALVIN K. HELLERSTEIN
                                                           United States District Judge
